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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                    Newport News Division

    GAVIN GRIMM,                                   )
                                                   )
                           Plaintiff,              )
                                                   )
    v.                                             )     Civil Case No. 4:15-cv-54-AWA-DEM
                                                   )
    GLOUCESTER COUNTY SCHOOL                       )
    BOARD,                                         )
                                                   )
                           Defendant.              )
                                                   )


                             STIPULATION FOR ENTRY OF ORDER

         Plaintiff Gavin Grimm and Defendant Gloucester County School Board (the “Board”)

 hereby stipulate and agree that Plaintiff’s Motion for Attorney’s Fees and Costs (the “Fee

 Petition”) is unopposed, and there being nothing left to consider, a final Order granting the Fee

 Petition should be entered by the Court.

          1.      On July 26, 2021, pursuant to Federal Rule of Civil Procedure 54(d), the Plaintiff

 moved this Court for an award of attorneys’ fees and costs reasonably incurred in this matter (the

 “Fee Petition”). ECF 252.

          2.      In support of the Fee Petition, Plaintiff’s requested fee award was based on the

 following market rates, with a 50% discount for hours spent on travel:



          Name                 Years of Experience                           Rate

   Joshua Block            10 (in 2015) – 16 (in 2021)     $650 (before 6/1/16); $750 (after 6/1/16)

   Rebecca Glenberg        18 (in 2015)                    $650

   Eden Heilman            12 (in 2018) – 15 (in 2021)     $650
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   Gail Deady              4 (in 2015) – 7 in (2018)     $450

   Shayna Medley           1 (in 2018) – 2 (in 2019)     $350

   Jennifer Safstrom       < 1 (in 2018- 2019)           $300

         3.     The Board has satisfied the Fee Petition and has tendered payment to Plaintiff for

 attorneys’ fees in this case in the full amount of $1,284,735.75 and costs in the amount of

 $27,467.85.

         4.     The Parties agree that no further proceedings will remain pending before the Court

 upon entry of an order, and this case can be placed among the ended matters.



 Respectfully submitted,

 /s/ Eden B. Heilman

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   FOUNDATION OF VIRGINIA                              FOUNDATION
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   Dated: August 26, 2021




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  GLOUCESTER COUNTY SCHOOL BOARD
  By Counsel
                   /s/
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                                  CERTIFICATE OF SERVICE
        I hereby certify that on this 26th day of August 2021, a true and correct copy of the

 forgoing was filed electronically with the Clerk of the Court for the U.S. District Court for the

 Eastern District of Virginia by using the CM/ECF system. I certify that all participants in the

 case are registered CM/ECF users and that service will be accomplished by the CM/ECF system.



                                                       /s/ Eden Heilman
                                                       Eden Heilman (VSB No. 93554)
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